  Case 3:15-cv-00666-M Document 281 Filed 02/27/19            Page 1 of 1 PageID 9615


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

NIC SALOMON,                      §
                                  §
           Plaintiff,             §
                                  §
v.                                §                         No. 3:15-cv-0666-M
                                  §
KROENKE SPORTS & ENTERTAINMENT, §
LLC, OUTDOOR CHANNEL HOLDINGS,    §
INC. AND PACIFIC NORTHERN CAPITAL §
LLC,                              §
                                  §
           Defendants.            §
                                  §

                                   FINAL JUDGMENT

       In accordance with the Court’s Order granting Defendants Kroenke Sports &

Entertainment, LLC, and Outdoor Channel Holdings, Inc.’s Motion for Summary Judgment, it is

ORDERED, ADJUDGED, and DECREED that Plaintiff Nic Salomon’s claims against

Defendants Kroenke Sports & Entertainment, LLC, and Outdoor Channel Holdings, Inc. are

DISMISSED WITH PREJUDICE. Costs of Court are taxed against Plaintiff.

       SO ORDERED.

       February 27, 2019.

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                                                 BARBARA M. G. LYNN
                                                 CHIEF JUDGE
